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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
IN RE:                              )        Chapter 13
Kimberly N. Boyd,                   )        Case No.: 23 B 04595
      Debtor.                       )
____________________________________)
Pro Swagger Promotions, Inc.        )        Adversary No.: 23 A 00169
      Plaintiff,                    )
                                    )
      v.                            )
Kimberly N. Boyd,                   )        Hon. David D. Cleary, Judge
      Defendant.                    )




NOTICE OF MOTION


To: Marilyn O. Marshall, Chapter 13 Trustee, courtdocs@chi13.com;
Adam Brief, U.S. Trustee, USTPRegion11.ES.ECF@usdoj.gov;

      On Monday, November 4, 2024, at 2:00 pm we will appear before the assigned
Judge, Honorable David D. Cleary, via teleconference on ZOOMgov.us, Meeting
ID: 161 122 6457, Passcode Cleary644, and present the attached


DEFENDANT’S BANKRUPTCY RULE 7012(b)(6) MOTION TO DISMISS
PLAINTIFF’S FIRST AMENDED COMPLAINT TO EXCEPT DEBT FROM
     DISCHARGE PURSUANT TO 11 U.S.C. SECTION §523(a)(4)

This motion will be presented and heard electronically using Zoomgov.us. To appear
and be heard on the motion, you must do the following: To appear by video, use this
link: https://www.zoomgov.com/. Then enter the meeting ID and password.

To appear by telephone, call Zoom at 312-626-6799. Then enter the meeting ID and
password. Meeting ID and password. The meeting ID for this hearing is Meeting ID:
161 122 6457, Passcode Cleary644.
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CERTIFICATE OF SERVICE

The undersigned attorney certifies that he served a copy of this Notice and the
attached DEFENDANT’S BANKRUPTCY RULE 7012(b)(6) MOTION TO DISMISS
PLAINTIFF’S FIRST AMENDED COMPLAINT TO EXCEPT DEBT FROM
DISCHARGE PURSUANT TO 11 U.S.C. SECTION §523(a)(4) to the parties named
above by electronic mail to their respective addresses of record, via the Court’s
electronic filing system at the above-listed addresses before 11:59pm on October 31,
2024.

Michael J. Greco, Attorney at Law                   /S/ Michael J. Greco___
Attorney for Defendant                              Michael J. Greco
175 W. Jackson Blvd. Suite 240
Chicago, Illinois 60604
(312) 222-0599
michaelgreco18@yahoo.com
Atty. No. 6201254




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                       UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                              )          Chapter 13
Kimberly N. Boyd,                   )          Case No.: 23 B 04595
      Debtor.                       )
____________________________________)
Pro Swagger Promotions, Inc.        )          Adversary No.: 23 A 00169
      Plaintiff,                    )
                                    )
v.                                  )
                                    )
Kimberly N. Boyd,                   )          Hon. David D. Cleary, Judge
      Defendant.                    )

DEFENDANT’S BANKRUPTCY RULE 7012(b)(6) MOTION TO DISMISS
PLAINTIFF’S FIRST AMENDED COMPLAINT TO EXCEPT DEBT FROM
     DISCHARGE PURSUANT TO 11 U.S.C. SECTION §523(a)(4)

      Defendant, KIMBERLY BOYD moves this Court pursuant to Bankruptcy

Rule 7012(b)(6) and Fed. Rule Civ. P. 12(b)(6) to enter an Order dismissing Plaintiff

PRO SWAGGER PROMOTIONS, INC.’s Amended Complaint to Except Debt from

Discharge pursuant to 11 USC Section §523(a)(4). To support this Motion,

Defendant states as follows:

Factual Predicate

      Plaintiff starts off its terse, three page Amended Complaint by referring to its

state court complaint filed in the Circuit Court of Cook County, Illinois, against

Defendant Kimberly Boyd (“Boyd”) and Tumbler City LLC (“Tumbler City”),


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“alleging among other counts, fraud perpetrated by the Defendant in the course of

her employment for Plaintiff.” (Amended Complaint, page 4, para. 6, Ex. A). The

allegations of the state court complaint are not certified or verified pursuant to 735

ILCS Section 5/1-109; they are not incorporated into the Amended Complaint in this

case. (Amended Complaint, page 4, Ex. A).

      The other Exhibit to the Amended Complaint is a purported Settlement

Agreement signed by Defendant, which purports to settle the claim between the

parties, for a sum equal to approximately one-fifth of the amount of the loss

Plaintiff alleged in the state court complaint to have sustained. (Amended

Complaint, page 4, para. 8, Ex. B). The purported Settlement Agreement is not

signed by Plaintiff, and does not indicate that Defendant admits or concedes any

specific acts alleged in the state court complaint. (Amended Complaint, page 4, Ex.

B).

      The Amended Complaint alleges in paras. 11 through 14, inclusive:

“11. Defendant, while acting as an employee of Plaintiff, used Plaintiff’s
      professional software and vendor contacts to purchase various merchandise
      commonly resold as part of Plaintiff’s business.
      12. Defendant converted this merchandise and resold it under her own
      company.
      13. Defendant caused Plaintiff’s business to be billed for the merchandise she
      ordered and resold under her own corporation.
      14. Defendant never paid Plaintiff for the merchandise ordered from and
      billed to Plaintiff’s company.”


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(Amended Complaint, page 4, paras. 11-14).

On this basis, Plaintiff asserts:

“16. The use of the Plaintiff’s software, licenses, vendors and ultimately their
      business capital to obtain merchandise to resell under her own company
      constitutes embezzlement and larceny under section §523(a)(4).”

(Amended Complaint, page 4, para. 16).

      Nowhere does the Plaintiff allege facts from which the Court could infer that

Plaintiff was unaware of Defendant’s activities, that Defendant took and carried

away Plaintiff’s property, or that Defendant was culpable of conversion of Plaintiff’s

property. (Amended Complaint, passim).


Standard of Review

      Plaintiff bears the burden of proving every element of its claims under 11

U.S.C. §523(a). City of Zeigler, Ill. v. Dennis Uhls, Adv. No. 21-04015, p. 6-7 (USBC

S.D.Ill. 6/29/2023), citing Matter of Scarlata, 979 F.2d 521, 524 (7th Cir. 1992)

(“burden of proof in dischargeability actions under §523(a)” City v. Uhls, pp. 6-7).

      “To further the policy of providing a debtor a fresh start in bankruptcy,

exceptions to discharge are to be construed strictly against a creditor and liberally

in favor of a debtor. In re Juzwiak, 89 F.3d 424, 427 (7th Cir. 1996) (with respect

to discharge exceptions under §727(a)); Meyer v. Rigdon, 36 F.3d 1375, 1385 (7th

Cir. 1994)(as to dischargeability exceptions under §523(a)).” City v. Uhls, pp. 6-7.

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        Where fraud is alleged, Fed Rule Civ. P. 9(b) requires a heightened standard

of specificity, identifying the particular facts on which fraud is being asserted. Fed.

Rule Civ. P. 9(b).

   I.      Conversion is not properly alleged for purposes of stating a claim of
           embezzlement of the Plaintiff’s property.

   Although Plaintiff claims that Defendant is culpable of embezzlement and

larceny, the allegations of the Amended Complaint do not support these assertions.

“[T]he Supreme Court explained that ‘embezzlement’ requires conversion, [and]

‘larceny’ requires taking and carrying away another’s property. Bullock v.

BankChampaign, N.A., 569 U.S. 267, 268 (2013).” City of Zeigler, Ill. v. Dennis

Uhls, Adv. No. 21-04015, p. 6-7 (USBC S.D.Ill. 6/29/2023).

        Illinois law dictates that conversion is actionable only for the return of

specific property, or an identifiable object. Karimi v. 401 North Wabash Venture,

LLC, 952 N.E.2d 1278 (Ill.App.1 Dist.2011). Money can be the subject of conversion

if it is a specific, identifiable sum, but only if the money “at all times belonged to the

plaintiff and that the defendant converted it to his own use.” Id. 952 N.E.2d at

1285, citing In re Thebus, 108 lll.2d 255, 261 (1985).

        Plaintiff’s allegations in this case fail to establish that the “profits” realized

by Defendant’s alleged dealings belonged to the Plaintiff at all times. (Amended


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Complaint, paras. 13, 14). At best, Plaintiff has alleged that Defendant owes it a

generalized debt or obligation, to repay Plaintiff for merchandise billed to Plaintiff’s

company and sold by Defendant. (Amended Complaint, para. 14). In re Thebus, 108

lll.2d at 261.

         Because Plaintiff has failed to allege a conversion purportedly perpetrated by

Defendant, Plaintiff’s claim for embezzlement fails. The Amended Complaint must

be dismissed for failure to state a claim under Section 523(a)(4) as to alleged

embezzlement.


   II.      Plaintiff’s alleged claim based on Larceny fails because Plaintiff has failed
            to allege that Defendant took and carried away Plaintiff’s property.

   As noted above, Plaintiff’s claim against Defendant alleging Larceny requires

allegations that Defendant “took and carried away another’s property.” Bullock v.

BankChampaign, N.A., 569 U.S. at 267, 268; City of Zeigler, Ill. v. Dennis Uhls,

Adv. No. 21-04015, p. 6-7 (USBC S.D.Ill. 6/29/2023).

         Plaintiff’s allegations that Defendant used Plaintiff’s software and vendor

contacts to purchase and resell merchandise through her own corporation falls far

short of establishing that Defendant “took and carried away [Plaintiff’s] property.”

(Amended Complaint, para. 11-14).

         Because the Amended Complaint fails to allege specific facts amounting to


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Defendant allegedly committing Larceny, that basis for discharge exception under

Section 523(a)(4) is defectively pleaded as well. The Amended Complaint fails to

state a claim for which exception to discharge can be granted based on purported

Larceny, and must be dismissed as to that ground under Bankruptcy Rule

7012(b)(6) and Fed. Rule Civ. P. 12(b)(6).




Conclusion

      For the foregoing reasons, the allegations of Plaintiff’s Amended Complaint

fail to establish ground for excepting its claim against Defendant from discharge

under either embezzlement or larceny pursuant to Section 523(a)(4) of the

Bankruptcy Code. The Amended Complaint must be dismissed under Bankruptcy

Rule 7012(b)(6) and Fed. Rule Civ. P. 12(b)(6).

      WHEREFORE, Defendant Kimberly Boyd, respectfully requests that the

Amended Complaint of Plaintiff Pro Swagger Promotions, Inc., be dismissed

pursuant to Bankruptcy Rule 7012(b)(6) and Fed. Rule Civ. P. 12(b)(6) for failing to

state a claim for which relief may be granted, together with such further relief as

this Court deems just.




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Respectfully Submitted,

Kimberly N. Boyd,

By:_____/s/ Michael J. Greco___
      Michael J. Greco
      Attorney for Defendant


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Certificate of Service

I hereby certify that on October 31, 2024 before 11:59pm I served the foregoing
document via electronic mail on the Court’s electronic case filing system to counsel
of record.


Michael J. Greco, Attorney at Law      ______/S/ _ Michael J. Greco ____________
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